EXHIBIT C
                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

MICHAEL QUIGLEY,                            )
     Plaintiff,                             )
                                                   )
v.                                                 )
                                                   )       Civil Case No. I: l 6-cv-00459-SS
UNITED STATES OF AMERICA,                   )
      Defendant.                                   )

                             AFFIDAVIT OF STEVE WIMBERLY

       "l.      My name is Steve Wimberly. I am over 18 years of age, of sound mind, capable of
making the declarations below, and personally acquainted with the facts declared. My birth date is
January 9, 1946. My address is 505 Deep Eddy Ave., Austin, TX 78703. I declare under penalty of
perjury that the following is true and correct.

        "2.     I am a managing member of710 Colorado, LLC ("Company") and have personal
knowledge concerning the Settlement Agreement entered into between the Company and St.
Gumbeaux, Inc. in November of 2009 ("Agreement"). The terms of the Agreement are represented
by the Term Sheet which is attached hereto as Exhibit A. The Term Sheet was negotiated, drafted and
entered into in October of 2009 by myself, on behalf of the Company, and Michael Quigley, on
behalf of St. Gumbeaux, Inc. I am the custodian of records for the Company and I have kept this
Term Sheet in the ordinary course of business; Exhibit A is a true and correct copy of the Term
Sheet. The Company was St. Gumbeaux, Inc.' s landlord and I personally, on behalf of the Company,
negotiated and entered into the Term Sheet and subsequent Agreement with St. Gumbeaux, Inc. in
order to settle pending lawsuits the Company and St. Gumbeaux, Inc. had against each other related
to the lease between the parties. I also personally received and gave consideration as stated in the
Term Sheet for my willingness to settle the lawsuit on behalf ofmy Company. In essence, the
consideration I received was all assets of the Company and the right to run the restaurant known as
"Gumbo's" at 710 Colorado Street.

        "3.     Beginning in November, 2009, Michael Quigley had nothing to do with the restaurant
known as Gumbo's at 710 Colorado Street and had no authority to write checks on behalf of the
restaurant, pay creditors or take any actions whatsoever concerning Gumbo's on 710 Colorado Street.
My Company received ownership of all furniture, fixtures, equipment, dishes, payment systems, cash
registers and all rights to operate the restaurant and my Company operated the restaurant with full
authority and with no involvement whatsoever by Michael Quigley beginning in November of 2009.

       "4.     For purposes of clarity, Point 20 of the attached term sheet memorializes a transaction
in which the Company received $7500.00 for pre-arranged events subsequently held in the normal
course of the Company's business. St. Gumbeaux was not the beneficiary of Point 20.

      "5.    For purposes of clarity, Point 5 of the attached term sheet was subsequently adjusted to
payment of$24,659.21 instead of $30,000.00.
FURTHER THE AFFIANT SAYETH NOT




STATE OF TE~S. . .                   )                                                                                 .»--
COUNTY OF         Y"ti\...V 15    . ).         .                                s~~ "".r. <n'oe.< ,~
        Before me,_ fv-~u-s.\~i"W.~-' on this day personally appeared 'f.emmy Yel,ll}grproved
to me through to be the person whose name is subscribed to the foregoing instrument and acknowledged
to me that Steve Wimberly executed the same for the purposes and consideration therein expressed.
Given under my hand and seal of office this 2. lP day of May, 2017.
                                                                     ~~
                                                                   Notary Public, State of 1"" €j.AS
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                           00                                      My commission expires:      t 2-- "2- % · 2-0l '1



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                                                                                                       '° . 1
-..:. ...
                                                        TERM SHEET
                                                 (Draft 10/15/09, 4:59pm)

            "MQ" =St. G,unbeaux Inc, Mike (llligley, The Bl'OWII Bar, Gumbo's 1J""""°"'1t

            ~wr = 710 Colol'flllo LLC, Stat Wiln/M?rly, Steve Wimberly fllJSigns
               1. MQ maintains occupancy of the Leased Pre.mises until October 31, 2009.

               2. There will be no rent charged to MQ for October 2009
                     •
               3. On November 1, 2009 MQ will surrender the premises to SW in a fully
                  operational condition and will ttansfer the ownership of all contents of the
                  premises to SW including but not limited to furniture, fixtures., equipm~
                  decoration~ televisions, refrigeratio11:, phone system, security~ soft wares,
                  menus, invemnry, supplies, umnsils, cooking supplies~ cookware~ china,.
                  glassware, accounting system. MQ will retain ownership of the cash register
                  system and the compmen; that it is connected to but agrees to let SW use it at the
                  premises until SW is ready to replace it with a different system.

               4. SW will pay MQ $40,000 on November 1, 2009.

               S. SW will pay MQ an additional $30.000 on or before November 30, 2009. (To be
                  paid on a schedule not to be slower than $7,500 per week)

               6. All accrued, past and future liabilities, cash and receivables of MQ will n,main
                  the property and responsibility of MQ

               7. SW will release all claims against Mike Quigley (personally). SW will release all
                  claims against St. Gumbeaux Inc except for casualty and liability claims
                  pertaining to property damage.

               8.   MQ will release all claims against SW.

               9. MQ agrees to assign governance of the property insurance claim to SW and
                  fiu1her agrees that all proceeds collected under 1he claim will be the property of
                  SW. SW will release St. Gumbeaux. Inc from cBSUalty and liability claims
                  pertaining to property damage when the insurance claim is settled.

               10. MQ agrees to sign the management agreement 1hat allows SW to operate under
                   the existing Liquor Licenses for Oombo's and The Brown Bar until new licenses
                   are obtained by SW. As part of the management agreement, SW will indemnify
                   MQ against any liabilities incurred against the license during the period of bis
                   opaation. SW agrees to obblin the new per.mi.ts as quickly as possible.

               11. MQ agrees to assign the right to the sidewalk lease to SW and to cooperate in
                   transferring the lease to SW
   12. SW will guarantee employment to Pierluigi. Capello at his existing rate for 85
       days.

   13. SW agrees to reasonably maintain the cash register system and to return it with all
       hardware and software to MQ when SW obtains a new system.

   14. MQ will assign to SW the right title & interest in the Brown Bar name, trademark,
       domain name, website, phone numbers and all other intellectual property

   15. MQ & SW will enter into a Licensing Agreement that allows SW to operate Ullder
       1he name ''Gumbo's''.

   16. MQ & SW hereto agree that SW has the exclusive right to the license agreement
       in the "downtown area" which is attached as Exhibit I; it is further agreed that
       MQ has the exclusive right to the Gumbo's Concept in Tm.vis County:, Texas
       (except to the extent that any part of the exclusive area described in Exhibit I and
       Neutral area described in Exhibit Il) MQ & SW agn:e that neither party will
       operate the Oumbo 's Concept in the Neutral Area Exhibit Il without the consent
       from both parties.

   17. MQ will assign to SW the Gumbo's phone numbers and the website and domain
       for "Gumbo's Downtown"

   18. SW agrees to transfer all utilities (phone, gas, trash., etc.) to his name as of
      November 1,. 2009.

   19. It is the intent of MQ and SW that they will own the right, title and interest in the
       "Gumbo's" trademark and licensing rights SO/SO. As further oomideration in this
       settlement, MQ will transfer 100% of the right, title and interest in the "Oum.bo,s,.,
       trademark and licensing rights to SW. SW will simultaneously sell 5()GA. of the
       ownership back to MQ for $10. Both parties .agree that all licensing agreements
       outside of Travis County, Texas (except fur the state of Colorado and the license
       agreement with S.W.D.B.~ Inc.) will be mutually developed and shared

   20. SW agrees totworestaunmt buy-outs April ,Jb-an<i April 30'2010 for $7,500
       each plus tax and gratuity.


Agreedtcby:



   5(7~ ~ Date/t:P-/S--cry
Steve Wimberly
710 Colorado ILC

~
Mike Quigley                           D
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St. Gumbeaux Inc
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                                CAUSE NO. D-1-CN-09-000473

710 COLORADO, LLC                                §       IN THE DISTRICT COURT
Plaintiff                                        §
                                                 §
V.                                               §       OF TRAVIS COUNTY, TEXAS
                                                 §
                                                 §
                                                 §
ST. GUMBEAUX, INC.                               §       201sr JUDICIAL DISTRICT
Defendant                                        §




                                      CAUSE NO. 217993

710 COLORADO, LLC                               §        IN THE JUSTICE COURT
Plaintiff                                       §
                                                §
V.                                              §        TRAVIS COUNTY, TEXAS
                                                §
                                                §
                                                §
ST. GUMBEAUX, INC.                              §        PRECINCT FIVE
Defendant                                       §




                   COMPROMISE AND SETTLEMENT AGREEMENT
                        AND FULL AND FINAL RELEASE

       This COMPROMISE AND SETTLEMENT AGREEMENT AND FULL AND FINAL
RELEASE is made and entered into on the date indicated below by and between 710 Colorado,
Inc. and St. Gumbeaux, LLC and is intended to settle, compromise and extinguish all claims that
the Parties may have arising out of the Dispute in Question.


                                      I.      DEFINITIONS


A.     "71 O" means 710 Colorado, LLC.

B.     "Gumbeaux" means St. Gumbeaux, Inc ..




                                                I
C.      "Wimberly" means Steve Wimberly

D.      "Quigley" means Michael Quigley

E.      "The Parties" specifically includes 710 and St. Gumbeaux.

F.     "Dispute in Question" refers to the dispute described in the pleadings in the Litigation in
       Question.

G.     "Litigation in Question" means the two lawsuits as set forth hereinabove.

H.     "The Property" refers to the property located at 710 Colorado, Austin, Travis County,
       Texas, owned by 710 and which is the subject of the Dispute in Question.

I.     "Compromise and Settlement Agreement" or "Agreement" wherever used herein shall
       mean this Compromise and Settlement Agreement and Full and Final Release.

J.     "Lease" means The Brown Building Lease between The LBJ Brown Building, L.P.
       ("Landlord") and Kona Restaurant Group, Inc ("Tenant"), dated January 12, 1999.

                             II.    COMPROMISE AND SETTLEMENT


        The Parties acknowledge and agree that this Compromise and Settlement Agreement is
reached for the purpose of a full and final settlement and compromise of all of 71 O's claims,
demands, and causes of action against Gumbeaux and all of Gumbeaux's claims against 710,
including but not limited to any dispute that has arisen or that may arise in the future relating to
any matter whatsoever from the beginning of the world to the date of this Agreement, including
but not limited to the claims asserted or which could have been asserted in the Litigation in
Question, except for damage to the Property. Nothing contained herein shall be construed as an
admission of liability by any party, any such liability being expressly denied. The consideration
detailed in this Compromise and Settlement Agreement is being paid by way of compromise to
avoid expenses and terminate all controversies between Gumbeaux and 710, regardless of the
extent of the damages and expenses.
        All claims, excepting damage to the Property, between the Parties hereto in the Litigation
in Question will be dismissed with prejudice with all taxable costs taxed against the Party
mcurrmg same.

                                       III.   AGREEMENT


A.     Consideration. As consideration for this Agreement;

(1)    Gumbeaux agrees to:

       a.      Surrender possession of the Property to 710 on or before even date herewith;

       b.      Convey, per the Bill of Sale attached hereto, all furniture, fixtures, equipment,



                                                 2
      decorations, televisions, refrigeration, phone system, security system, soft wares, menus,
      inventory at cost, supplies, utensils, cooking supplies, cookware, china, sound system,
      glassware and accounting system;

      c.     Grant 710 the right to use the cash register system and connected computers for a
      reasonable period at no additional cost; ·

      d.      (iranl. per lhc term:; or the Manul.'.ement /\greemenl uHachcE:t-4eretH. 71-4-t+i~
      ln w;c the liquor licen:;e currently in place for the Prnperty:Wesl Ei1.:hth . Ll.C per the
      Management Agreement attached hereto. w provide for the sale of alcoholic beverage~
      lw the ManaQcr and also to provide labor. supplies. equipment. accountin1.: and auditing
      services amonf.'. others for Gumbeau.x at the premises of 1 0 I West Eil.'.hth Street and 710
      Colorado St. Austin. Texas 78701:

      e.     Assign, per the terms of the Assignment attached hereto, 710 the sidewalk lease
      with the City of Austin, to 71 O;

      f.     Assign, per the terms of the Assignment attached hereto, 710 the name "Brown
      Bar", together with associated trademark, domain name, website, phone numbers to the
      property, and all intellectual property associated with the name "Brown Bar";

      g.      Grant, per the terms of the Licensing Agreement attached hereto, 710 the right to
      operate under the name "Gumbo's", including therein the exclusive right of 710 to
      operate as "Gumbo's", and utilize the Gumbo's concept, in that area loosely defined as
      "downtown" and further described as set forth on that map attached hereto. Said map
      further identifying an area as "neutral" in which all ap.§rties shall refrain from operating
      within under the name "Gumbos" ,vithout the consent from both parties. In furtherance
      thereof, Gumbeaux will grant 710 the name and right to use "Gumbo's Downtown",
      together with the associated phone numbers, website and domain. It is frniher agreed that
      Michael and Francine Quiglcv·s entities has the exclusive right to the Gumbo ·s Concept
      in Travis Countv. Texas (except to the extent that any pai1 of the exclusive area described
      as .. downtown·· and ··neutral .. area described above);


(2)   710 agrees to:

      a.     Deposit into escrow with John W. Pleuthner, the sum of $40,000.00 per the terms
      and conditions of the Escrow Agreement attached hereto;

      b.      Pay to Gumbreaux the cost of the inventory as of November 1, 2009 for the
      restaurant and bar at the Property in four equal installments commencing with a first
      payment no later than November 9, 2009 and a like installment each successive Monday
      thereafter until paid;

      c.     Release Gumbeaux from any claim for past due rent.




                                               3
        d.      Place all utilities for the prope1iy into 710' s name.

        e.      Retain the services of Pierluigi Capello per the terms on employment agreement,
        for a period of no less than 85 days from date hereof, at his normal compensation.

(3)    Both Parties agree to take count of the inventory for both operations of Gum beaux at the
property with an effective date of November 1, 2009;

(4)     Quigley and Wimberly in accordance with the releases as set forth below, release each
other from any and all claims arose from the facts and circumstances that gave rise to the Dispute
in Question and except as for damage to the Property.

B.       Release by 710. Except for any damage to the Property that occurred during the term of
the Lease, 710, along with it's successors and assigns, representatives, employees, shareholders,
directors, officers, parent or subsidiary organizations, related companies and legal entities,
affiliates, owners, agents, trusts, trustees, and attorneys, hereby forever releases, acquits,
discharges and covenant to hold harmless Gumbeaux, it's successors and assigns,
representatives, employees, shareholders, directors, guarantors, officers, parent or subsidiary
organizations, related companies and legal entities, affiliates, owners, agents, trusts, trustees, and
attorneys, from and against any and all claims, counterclaims, suits, demands, or causes of action
under contract, in tort, by statute, constitution or otherwise, whether known or unknown, that
were or could have been raised against Gum beaux arising directly or indirectly out of any matter
whatsoever from the beginning of time to the date of this Agreement, including but not limited to
the Dispute in Question. except that under all circumstance a full and complete release o(
Michael and Francine Quiglev, or the claims and/or allegations that form the basis of the
Litigation in Question. 710 hereby acknowledges that the promises as detailed in this
Compromise and Settlement Agreement is a full, final and complete satisfaction, settlement,
release, and discharge of any and all liability whatsoever on the part of the 710 by reason of any
condition, cause, or thing in any way related to, or arising out of, the Dispute in Question, or the
claims and/or allegations that form the basis of the Litigation in Question and for any other
matter from the beginning of the world to the date of this release. 710 expressly WARRANTS
AND REPRESENTS that it has not assigned any portion of any cause of action arising out of the
Dispute in Question to anyone.


C.          Release by Gumbeaux.          Gumbeaux, along with it's successors and assigns,
representatives, employees, shareholders, directors, officers, parent or subsidiary organizations,
related companies and legal entities, affiliates, owners, agents, trusts, trustees, and attorneys,
hereby forever releases, acquits, discharges and covenants to hold ham1less 710, it's successors
and assigns, representatives, employees, shareholders, directors, officers, parent or subsidiary
organizations, related companies and legal entities, affiliates, owners, agents, trusts, trustees, and
attorneys, from and against any and all claims, counterclaims, suits, demands, or causes of action
under contract, in tort, by statute, constitution or otherwise, whether known or unknown, that
were or could have been raised against 710 arising directly or indirectly out of any matter
whatsoever from the beginning of time to the date of this Agreement, including but not limited to
the Dispute in Question, or the claims and/or allegations that form the basis of the Litigation in



                                                  4
Question. Gumbeaux hereby acknowledges that the promises as detailed in this Compromise
and Settlement Agreement is a full, final and complete satisfaction, settlement, release, and
discharge of any and all liability whatsoever on the pa.ii of Gumbeaux by reason of any
condition, cause, or thing in any way related to, or arising out of, the Dispute in Question, or the
claims and/or allegations that form the basis of the Litigation in Question and for any other
matter from the beginning of the world to the date of this release. Gumbeaux expressly
WARRANTS AND REPRESENTS that it has not assigned any portion of any cause of action
arising out of the Dispute in Question to anyone.

D.     Entire Agreement. This Agreement sets forth the entire agreement between the Parties.
No other promises or agreements shall be binding on any party unless it is in writing and signed
by both Parties.

E.    Modification. No provision of this Agreement may be waived, or modified in any respect
whatsoever except by written agreement signed by the Parties to this Agreement.

F.      Severability. In the event any one or more of the provisions contained in this Agreement
shall, for any reason, be held to be invalid, illegal, or unenforceable in any respect, such
invalidity, illegality, or unenforceability shall not affect any other provision of this Agreement.

G.      Multiple counterparts. This Agreement may be executed in multiple counterparts,
including counterparts transmitted by telephonic document transfer, with the same effect as if all
Parties had signed the same, and all such counterparts shall be construed together to constitute
one original instrument. Each counterpart shall have the same effect as the original.

H.    Full Authority. The Parties represent that they have full authority to enter into this
Agreement, and the individual parties are competent and of the age of majority.

I.       Full Knowledge, Consent and Voluntary Signing of Agreement. All Parties acknowledge
and agree that: (a) they have carefully read the Agreement and fully understand its meaning,
intent and terms; (b) they have full knowledge of its legal consequences; (c) they agree to all the
terms of the Agreement and are voluntarily signing below; (d) other than as stated herein, they
attest that no promise or inducement has been offered for this Agreement; (e) they have had full
opportunity for review of this agreement by legal counsel of their own choosing; and (e) they are
legally competent to execute this Agreement and accept full responsibility therefor.

J.     No Duress. Each party agrees to sign this Agreement as its own voluntary act and deed,
and represents that such execution was not the result of any duress, coercion or undue influence.

K.      Non-Admission. All Parties acknowledge that this Agreement does not constitute an
admission by any Party of any liability whatsoever, but results from the Parties' desire to
expeditiously resolve disputed issues of fact and law, and further acknowledge that the Parties
deny all allegations of violation of any law, statute, ordinance, insurance, regulation, common
law, tort or contract. By this Agreement, the Parties ru·e compromising claims that they dispute
in good faith.




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L.      No Representations. The Parties represent and warrant that no representations about the
nature and extent of the claims, damages, losses or injuries, legal liability, financial
responsibility or income tax consequences, if any, made by the other Party, has induced them to
enter into this Agreement. In agreeing to the terms and conditions of this Agreement, the Parties
have considered not only all known facts, damages and losses, but also the fact that
consequences not now known may result from occurrences or events that may have given rise to
the claims released in this Agreement. The Parties further recognize that the facts relating to the
underlying claims released by this Agreement may turn out to be different from the facts now
known or believed to be true by the Parties. Each party agrees that this Agreement shall not be
subject to termination by reason of any different facts.

M.       Ownership of Claims. Each Party represents and warrants that they have not assigned
their rights or claims herein released to any other person, company, or entity.


N.     Successors and Assigns. The provisions of this Agreement shall be binding and inure to
the benefit of each of the Parties and their respective heirs, executors, administrators, agents,
representatives, successors and assigns.

0.     Governing Law. This Agreement has been executed and delivered in the State of Texas.
This Agreement shall be deemed to be a contract made under and shall be construed in
accordance with and governed by the law of the State of Texas and of the United States of
America, as applicable. Venue for any lawsuit arising out of this Agreement shall be in Travis
County, Texas.

P.      Arbitration.   Any dispute arising in whole or in part out of the terms and conditions of
this agreement, shall be resolved by binding arbitration.

Q.     Confidentiality.       The terms and conditions of this Agreement shall remain
confidential between the parties, to be disclosed as necessary only to fulfill the terms hereof.

       This COMPROMISE AND SETTLEMENT AGREEMENT AND FULL AND FINAL
RELEASE reached herein has been negotiated in good faith by the parties hereto.



                                             AGREED TO AS TO FORM AND SUBSTANCE:

                                             710 Colorado, LLC


                                             By: Steve Wimberly

                                             Date:November_ _, 2009




                                                6
St. Gumbeaux, Inc.



By: Michael Quigley

Date: November- - -, 2009




  7
                                          AFFIDAVIT


STATE OF TEXAS                §
                              §
COUNTY OF TRAVIS              §


        BEFORE ME, the undersigned authority, on this day personally appeared Steve
Wimberly, known to me to be the person whose name is subscribed to the above and foregoing
instruments,   and   acknowledged to me that he executed this COMPROMISE AND
SETTLEMENT AGREEMENT AND FULL AND FINAL RELEASE, in the capacity stated
herein and for the purposes and consideration therein expressed.


        GIVEN UNDER MY HAND AND SEAL OF OFFICE this _ _ day of November,
2009.


                                                    NOTARY PUBLIC, IN AND FOR THE
                                                    STATE OF - - - - - - - - -


My Commission Expires:                              Printed Name of Notary Public




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                                          AFFIDAVIT


STATE OF TEXAS                 §
                               §
COUNTY OF TRAVIS               §


            BEFORE ME, the undersigned authority, on this day personally appeared Michael
Quigley, known to me to be the person whose name is subscribed to the above and foregoing
instruments, and acknowledged to me that she executed this COMPROMISE AND
SETTLEMENT AGREEMENT AND FULL AND FINAL RELEASE, in the capacity stated
herein and for the purposes and consideration therein expressed.


           GIVEN UNDER MY HAND AND SEAL OF OFFICE this _ _ day of November,
2009.


                                                    NOTARY PUBLIC, IN AND FOR THE
                                                    STATE OF - - - - - - - - -


My Commission Expires:                              Printed Name of Notary Public




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